                                 COMMONWEALTH OF PENNSYLVANIA
                            OFFICE OF ATTORNEY GENERAL
JOSH SHAPIRO                                                                   1600 ARCH STREET
                                                                               SUITE 300
ATTORNEY GENERAL
                                                                               PHILADELPHIA, PA 19103



                                       July 25, 2019

The Honorable Wendy Beetlestone
United States District Court
601 Market Street, Room 3809
Philadelphia, PA 19106-1725

By CM/ECF

       Re:     Commonwealth of Pennsylvania & State of New Jersey v. Trump
               et al., No. 2:17-cv-04540-WB

Dear Judge Beetlestone:

        Plaintiffs the Commonwealth of Pennsylvania and the State of New Jersey
respectfully submit this letter to further address the issues discussed during the status
conference held on July 23, 2019.

        On July 12, 2019, the Third Circuit issued a precedential opinion affirming this
Court’s January 14, 2019, preliminary injunction of the Final Religious and Moral
Exemption Rules. The Third Circuit held: (1) the States have standing to bring this
challenge; (2) the Agencies lacked statutory authority to issue the IFRs without notice
and comment; (3) the Agencies lacked good cause to issue the IFRs without notice and
comment; (4) the Agencies’ failure to follow the APA’s notice-and-comment
requirements fatally “compromised the procedural integrity of the Final Rules”; (5) the
Agencies lacked authority under the Women’s Health Amendment, 42 U.S.C. § 300gg-
13(a)(4), to issue the Final Rules; (6) the Agencies lacked authority under the Religious
Freedom Restoration Act to issue the Final Religious Exemption Rule; (7) the remaining
equitable factors—irreparable harm, balance of the equities, and public interest—favored
the entry of a preliminary injunction; and (8) a nationwide injunction of the Final Rules
was warranted.

       The Third Circuit’s decision effectively resolves federal defendants’ and
intervenor-defendant’s motions to dismiss (ECF Nos. 157, 159), both of which should be
denied. In addition, the decision resolves many of the issues raised in the parties’ cross-
motions for summary judgment and establishes that the States are entitled to summary
judgment with respect to at least some of their claims.
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        As stated during the status conference, the States respectfully submit that the most
efficient course of action would be for the Court to rule on the pending cross-motions for
summary judgment in their entirety. However, in light of the discussion during the status
conference of a possible resolution of some, but not all, of the States’ pending claims, the
States note that Federal Rule of Civil Procedure 54(b) provides that “[w]hen an action
presents more than one claim for relief ... the court may direct entry of a final judgment
as to one or more, but fewer than all, claims or parties only if the court expressly
determines that there is no just reason for delay.” Fed. R. Civ. P. 54(b); see also Elliott v.
Archdiocese of New York, 682 F.3d 213, 221 (3d Cir. 2012) (holding that a trial court
must “make a brief reasoned statement in support of its determination that there is no just
reason for delay” (citations and internal quotation marks omitted)). A final judgment
entered as to some counts pursuant to Rule 54(b) is an appealable order. Id. at 219.

         The States’ Amended Complaint (ECF No. 89) contained five causes of action.
Two of those causes of action, Counts III and IV, provided the basis for this Court’s entry
of a preliminary injunction and the Third Circuit’s decision affirming this Court. Count
III alleged that defendants violated the procedural requirements of the APA, while Count
IV alleged that defendants violated the APA’s substantive requirements. Therefore, if the
Court were to expressly find that there was no “just reason for delay” with respect to
these counts, it could enter final judgment with respect to Counts III and IV of the States’
amended complaint.1 However, while the Third Circuit’s decision addressed many of the
arguments relating to those two counts, the States’ motion for summary judgment (ECF
No. 170-1) raised two additional bases for invalidating the Rules under these counts that
were not addressed by the Third Circuit. Specifically, the States argued (at 30-40) that the
Final Rules are arbitrary and capricious in violation of 5 U.S.C. § 706(2)(A) for three
specific reasons set forth in their motion. In addition, the States argued (at 20-21) that the
Final Rules create an “unreasonable barrier[] to the ability of individuals to obtain
appropriate medical care” in violation of section 1554 of the Affordable Care Act, and
are therefore “not in accordance with law” in violation of 5 U.S.C. § 706(2)(A). As a
result, if the Court chooses to invoke Rule 54(b) and enter final judgment with respect to




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          If the Court were to invoke Rule 54(b) and enter final judgment with respect to
Counts III and IV, it would not be necessary to address the remaining counts at this time.
However, there is no basis for suggesting—as federal defendants did during the status
conference—that these counts could be dismissed as moot. Mootness requires a showing
that “the issues presented are no longer live or the parties lack a legally cognizable
interest in the outcome,” which is not the case here. Already, LLC v. Nike, Inc., 568 U.S.
85, 91 (2013) (citation and internal quotation marks omitted). The States’ other counts
are alternative bases to vacate the Final Rules; they would not be moot simply because
the Court granted relief on other grounds, particularly given that defendants have made
clear they intend to seek appellate review.
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Counts III and IV, the States respectfully submit that it would be appropriate to address
these additional bases for invalidating the Rules as well.2

        Whether the Court addresses some or all of the States’ claims at this time, the
proper remedy is vacatur of the Final Rules, for the reasons explained (at 45-46) in the
States’ motion.

                                                         Respectfully submitted,

  GURBIR S. GREWAL                                       JOSH SHAPIRO
  Attorney General                                       Attorney General
  State of New Jersey                                    Commonwealth of Pennsylvania

  /s/ Glenn J. Moramarco                                 /s/ Michael J. Fischer
  GLENN J. MORAMARCO                                     MICHAEL J. FISCHER
  Assistant Attorney General                             Chief Deputy Attorney General
  ELSPETH FAIMAN HANS                                    AIMEE D. THOMSON
  KATHERINE GREGORY                                      Deputy Attorney General
  Deputy Attorneys General
                                                         Office of Attorney General
  Richard J. Hughes Justice Complex                      1600 Arch St.
  25 Market Street, 8th Floor, West Wing                 Suite 300
  Trenton, New Jersey 08625-0116                         Philadelphia, PA 19103
  (609) 376-3235                                         (215) 560-2171
  Glenn.Moramarco@law.njoag.gov                          mfischer@attorneygeneral.gov

cc (by CM/ECF): Counsel of Record




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         To be clear, as a result of the Third Circuit’s decision, the States are entitled to
summary judgment in their favor with respect to Counts III and IV regardless of how the
Court were to rule on these additional arguments. The States nevertheless submit that it
would be appropriate for the Court to address all of their asserted bases for invalidating
the Rules under those counts before entering final judgment with respect to them.
